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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

____________________________________
                                    )
LOCAL, 8027,                        )
AFT-NEW HAMPSHIRE, et al.           )
                                    )
                                    )
                                    )
               Plaintiffs           )
                                    )
        v.                          )                 Case No. 1:21-cv-1077-PB
                                    )
FRANK EDELBLUT, in his official     )
capacity only as the Commissioner   )
of the New Hampshire Department     )
of Education, et al.                )
                                    )
                                    )
               Defendants           )
____________________________________)

            REPLY TO THE AFT PLAINTIFFS’ SEPARATE OBJECTION TO
                    THE DEFENDANTS’ MOTION TO DISMISS

                                           Introduction

       The AFT plaintiffs, in their separate memorandum of law in response to the defendants’

motion to dismiss, appear to acknowledge that Counts II-IV of their complaint are not actual

separate claims or causes of action, but instead constitute variations on the same theory

contained in Count I: the new antidiscrimination provisions fail to provide sufficient notice of the

conduct they proscribe. On this basis, the AFT plaintiffs seek to sustain a freestanding First

Amendment claim. But in making these arguments, the AFT plaintiffs overstate and overextend

an outdated and rarely cited First Circuit decision, Ward v. Hickey, 996 F.2d 448 (1st Cir. 1993),

in an effort to avoid the straightforward legal conclusion compelled by more recent case law that

the First Amendment does not protect curricular and pedagogical speech. This effort is
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necessarily unavailing, both because the analysis in Ward does not apply in the first place and

because, even if it did, the AFT plaintiffs’ claims still fail as a matter of law. The AFT plaintiffs’

remaining arguments are even less persuasive. The Court should therefore dismiss the AFT

plaintiffs’ purported First Amendment claim.

                                             Argument

I.     The AFT plaintiffs’ reliance on Ward is misplaced.

       The AFT plaintiffs rely on Ward for the proposition that their curricular and pedagogical

speech is entitled to First Amendment protection. Their reliance is misplaced. To begin with, the

appeal in Ward did not directly present the threshold question the defendants have raised in this

case: whether the First Amendment protects a teacher’s curricular or pedagogical choices at all.

The defendant school district in Ward did not raise this issue on appeal; rather, it operated from

the assumption that a teacher’s classroom speech is entitled to some First Amendment protection

under Tinker v. Des Moines Independent Community School District, 393 U.S. 503 (1969)—a

seminal decision addressing student, not teacher, speech—and framed its argument from there.

See Brief of Defendant-Appellee the School Committee of the Town of Belmont, Ward v.

Hickey, No. 92-1883, 1992 WL 12576401, at *10 (citing and quoting Tinker, 393 U.S. at 506–

07); see id. at *11–*12 (quoting Tinker, 393 U.S. at 506). Following the school district’s lead,

the First Circuit, too, assumed that some First Amendment protections extend to a teacher’s

classroom speech, likewise based on Tinker. See Ward, 996 F.2d at 452. The First Circuit went

on to assess the plaintiff’s claims under a two-step test that necessarily flowed from the

threshold, uncontested, assumption that some modicum of First Amendment protection extended

to the speech at issue. See id. at 452–54.




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        “Where, in a prior decision, [a court of appeals has] not considered an issue directly and

assessed the arguments of the parties with an interest in its resolution, that decision does not bind

[the court] in a subsequent case where the issue is adequately presented and squarely before [the

court], merely because some of the background facts are the same.” United States v. DiPina, 178

F.3d 68, 73 (1st Cir. 1999). This is because two of the “essential principles of stare decisis” are

that “an issue of law must have been heard and decided” and that “if an issue is not argued, or

though argued is ignored by the court, or is reserved, the decision does not constitute a precedent

to be followed.” Gately v. Comm. of Mass., 2 F.3d 1221, 1226 (1st Cir. 1993) (citation and

quotation marks omitted). The First Circuit’s assumption that the First Amendment extended to

the speech at issue in Ward is not binding on this Court, because the parties in Ward did not

brief, and the First Circuit therefore did directly address and decide, that threshold question.

Here, in contrast, the plaintiffs contend that the antidiscrimination provisions at issue violate the

First Amendment by “restricting [their] proper curricular discretion,” ECF Doc. No. 30 ¶ 123,

and the defendants have challenged that specific contention on the grounds that curricular and

pedagogical choices are not protected by the First Amendment. Whatever Ward might say about

the proper analysis if the defendants here, like those in Ward, had not raised this issue, it does

not speak to the issue itself. For this reason alone, the AFT plaintiffs’ reliance on Ward is

misplaced. 1

        This would remain true, however, even if Ward had addressed the specific, threshold

question raised in the defendants’ motion here. The First Circuit has observed that the law-of-



1
  To the extent the First Circuit’s treatment of the First Amendment claim in Ward may be construed to
contain dictum on this threshold question, it is entitled to little if any persuasive value. Any such dictum
is not “considered,” because the “court of appeals did not receive the benefit of briefing on the issue” and
the issue therefore “went unchallenged.” N.H. Lottery Comm’n v. Barr, 386 F. Supp. 3d 132, 147 (D.N.H.
2019), aff’d in part, vacated in part sub nom N.H. Lottery Comm’n v. Rosen, 986 F.3d 38 (1st Cir. 2021).


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the-circuit doctrine is “neither a straightjacket nor an immutable rule.” United States v. Lopez,

890 F.3d 332, 339 (1st Cir. 2018) (citation and quotation marks omitted). Two exceptions to that

doctrine exist: “1) where the previous holding is contradicted by controlling authority,

subsequently announced; and 2) where authority postdates the original decision, although not

directly controlling, nevertheless offers a sound reason for believing that the former panel, in

light of fresh developments, would change its collective mind.” Id. at 340 (cleaned up). Ward

implicates at least the second, if not both, of these exceptions.

       The decision in Ward predates Garcetti, Decotiss v. Whittemore, 635 F.3d 22 (1st Cir.

2011), and much of the out-of-circuit precedent cited in the defendants’ memorandum. Those

decisions directly address the threshold question of when the First Amendment protects speech

made by public officials in their official capacities. Before Garcetti, this was an unresolved

question, particularly as it related to teacher speech. Federal courts were split on whether teacher

speech should be analyzed under the so-called Pickering-Connick standard, which approached

teacher speech rights through the prism of public-employee speech, or the Tinker-Hazelwood

standard, which, as noted above, analyzed the speech rights of teachers by analogy to student

speech. See, e.g., Chiras v. Miller, 432 F.3d 606, 616-17 (5th Cir. 2005) (acknowledging the split

of authority among the various courts of appeals regarding the question of whether curricular

decisions or teacher speech is entitled to First Amendment protection); Lee v. York County

School Div., 418 F. Supp. 2d 816, 821 (E.D. Va. 2006) (identifying differing approaches to

teacher speech across the courts of appeals). Notably, Ward applied the Tinker-Hazelwood

standard. See 996 F.2d at 452.

       In Garcetti, the Supreme Court reiterated that determining whether the First Amendment

protects public-employee speech should be assessed under the Pickering-Connick standard,




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while refining the standard itself. See Garcetti, 547 U.S. at 415–20. Since Garcetti, several

federal courts of appeals have applied its reasoning to pedagogical and curricular speech, as

discussed in the defendants’ underlying memorandum. See ECF Doc. No. 36-1 at 16–20 & cases

cited therein. In Decotiis, the First Circuit applied the Garcetti framework to First Amendment

claims brought by a speech and language therapist working as a state contractor in a school. 635

F.3d at 29–30. Notably, both the First Circuit in an unpublished opinion and several district

courts within the First Circuit have cited both Garcetti and Decotiis when assessing whether an

educator’s speech was protected by the First Amendment. See, e.g., Alberti v. Carlo-Izquierdo,

548 F. App’x 625, 638–39 (1st Cir. 2013); Salmon v. Lang, No. CV 19-11378-RGS, 2019 WL

6496844, at *4 (D. Mass. Dec. 3, 2019); Brady v. Sch. Bd., Somersworth Sch. Dist., No. 16-CV-

069-JD, 2016 WL 6537629, at *4 (D.N.H. Nov. 3, 2016) (DiClerico, J.); Meagher v. Andover

Sch. Comm., 94 F. Supp. 3d 21, 36 (D. Mass. 2015); Estock v. City of Westfield, 806 F. Supp. 2d

294, 307 (D. Mass. 2011). In contrast, Ward, though far older, has only been cited in four

subsequent First Circuit decisions, and never in a manner the AFT plaintiffs cite it here. See

Efron v. Mora Dev. Corp., 675 F.3d 45, 46 (1st Cir. 2012); Foote v. Town of Bedford, 642 F.3d

80, 85 (1st Cir. 2011); Barton v. Clancy, 632 F.3d 9, 26 (1st Cir. 2011); Conward v. Cambridge

Sch. Comm., 171 F.3d 12, 22 (1st Cir. 1999).

       Indeed, research has revealed only one post-Garcetti decision from a district court within

the First Circuit that cites Ward when assessing claims that might arguably be viewed to arise out

of “curricular discretion.” See Griswold v. Driscoll, 625 F. Supp. 2d 49, 60 (D. Mass. 2009). But

that case offers the AFT plaintiffs no refuge, and not merely because the district court dismissed

the plaintiffs’ First Amendment claims outright for failure to state a claim. See id. at 53–54. In an

opinion written by Justice Souter, the First Circuit affirmed that dismissal, holding that the




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curriculum guide the plaintiffs had challenged “did not implicate the First Amendment.”

Griswold v. Driscoll, 616 F.3d 53, 60 (1st Cir. 2010). The court observed that “there is no

denying that the State Board of Education may properly exercise curricular discretion, and the

only question on the motion to dismiss is whether the pleadings allow for any doubt about the

status of the [challenged] Guide as an element of curriculum.” Id. at 59. The First Circuit’s

opinion, which does not reference Ward at all, squelches any limited support the district court’s

decision might otherwise have provided for the AFT plaintiffs’ Ward-based arguments.

       It is likewise no help to the AFT plaintiffs that some of the decisions cited above,

including Decotiis, involved speech by educators and other school officials made outside of a

classroom setting. It makes little sense that an educator’s official speech would lack First

Amendment protection when it occurs outside of the classroom, but would somehow gain that

protection when made while teaching a curriculum established by the government itself. As the

Sixth Circuit observed, teachers have “no more free-speech right to dictate the school’s

curriculum than [they have] to obtain a platform—a teaching position—in the first instance for

communicating [their] preferred list of books and teaching methods.” Evans-Marshall v. Bd. of

Educ. of Tipp Exempted Vill. Sch. Dist., 624 F.3d 332, 340 (6th Cir. 2010). Thus, in the words of

the Seventh Circuit, a case involving a teacher’s curricular choices is “easier [to resolve] than

Garcetti” because “teachers hire out their own speech and must provide the service for which

employers are willing to pay.” Mayer v. Monroe Cty. Comm. Sch. Corp., 474 F.3d 477, 480 (7th

Cir. 2007).

       All of this is to say that even if one assumes that Ward could be read to both address and

hold that curricular and pedagogical speech is entitled to some modicum of First Amendment

protection, there is ample to reason to believe that the Ward panel would have come to a




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different conclusion with the benefit of Garcetti, Decotiis, and the other post-Garcetti cases cited

above and in the defendants’ underlying memorandum. That the panel in Ward itself took pains

to emphasize the government’s broad discretion in regulating classroom speech only bolsters this

conclusion. See, e.g., 996 F.2d at 453 (“[T]he classroom is not a public forum, and therefore is

subject to reasonable speech regulation.”); id. (“[S]chools cannot be required to sponsor

inappropriate speech.”); id. (“[S]chools may reasonably limit teachers’ speech in that setting.”).

For this additional reason, the AFT plaintiffs’ reliance on Ward is misplaced.

II.     Even if Ward applied, the AFT plaintiffs’ claims would still fail as a matter of law.

        To the extent that Ward retains some lingering vitality—and it does not for the reasons

previously stated—the new antidiscrimination provisions and guidance from the defendants

satisfy the standard Ward set out. Ward permits speech to be regulated if: “(1) the regulation is

reasonably related to a legitimate pedagogical concern; and (2) the school provided the teacher

with notice of what conduct was prohibited.” 996 F.2d at 452–53. Both of these factors are

satisfied here.

        Regarding the first factor, Ward recognized that courts “have afforded schools great

deference in regulating classroom speech” even if such regulations are not viewpoint neutral. Id.

at 452; see also Mailloux v. Kiley, 448 F.2d 1242, 1243 (1st Cir. 1971) (“[F]ree speech does not

grant teachers a license to say or write in class whatever they may feel like.”). As discussed in

the defendants’ underlying memorandum, the new antidiscrimination provisions do not prohibit

any specific curriculum or education, but instead prohibit teaching that, among other things,

certain identified groups are superior or inferior or are not deserving of equal treatment. The

provisions likewise do not prohibit, among other things, teaching that groups have held or

currently hold such views or the impact that such beliefs have had. Contrary to the plaintiffs’




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public claims, the new antidiscrimination provisions simply prohibit speech that supports,

encourages, or condones discrimination. This limited prohibition easily satisfies the first prong of

the Ward analysis.

       Regarding the second factor, the question of notice dovetails with the plaintiffs’

vagueness claims. The AFT plaintiffs make no attempt to explain why an analysis of their

vagueness claim does not similarly control their First Amendment claim to the extent Ward

applies. In fact, the AFT plaintiffs’ notice-based arguments under Ward expressly refer to the

arguments in the plaintiffs’ joint submission with respect to vagueness. See ECF Doc. No. 46 at

20. Because the plaintiffs’ lack-of-notice claim fails as matter of law for the reasons stated in the

defendants’ memorandum, ECF Doc. No. 36-1 at 22–32, they cannot save the AFT plaintiffs’

First Amendment claim.

III.   The AFT plaintiffs’ remaining arguments are meritless.

       The AFT plaintiffs’ offer two additional arguments in support of their First Amendment

claim, both of which lack merit. First, the AFT plaintiffs contend that their First Amendment

claim can proceed based on the purported rights of students to receive information. This

argument fails for several reasons. First, none of the AFT plaintiffs are students. While two of

the AFT plaintiffs allege they are parents who are concerned about what their children will be

taught in light of the new antidiscrimination provisions, ECF Doc. No. 30 ¶¶ 10, 11, their

complaint only purports to bring claims on behalf of the plaintiffs themselves, not their children.

See Fed. R. Civ. P. 17(b)(1) (“Capacity to be sued is determined as follows: (1) for an individual

who is not acting in a representative capacity, by the law of the individual’s domicile”); Roberts

v. Hillsborough Mills, 85 N.H. 517, 519 (1932) (“Ordinarily, there are only two recognized ways

in which a minor may take binding action in the enforcement or discharge of his legal rights;




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namely, through a duly appointed guardian acting within his powers, or through his next friend

by proceedings in court.”); see also Fed. R. Civ. P. 17(c)(2) (“A minor or an incompetent person

who does not have a duly appointed representative may sue by a next friend or by a guardian ad

litem.”); T.W. by Enk. V. Brophy, 124 F.3d 89, 895 (7th Cir. 1997) (“To maintain a suit in federal

court, a child or mental incompetent must be represented by a competent adult.”). Additionally,

the complaint does not contain any well-pleaded factual basis for why any particular student’s

First Amendment rights have been violated by the antidiscrimination provisions, much less facts

that might sustain a facial challenge to those provisions. See Barchock v. CVS Health Corp., 886

F.3d 43, 48 (1st Cir. 2018) (setting forth the familiar standard for motions to dismiss). Nor have

the AFT plaintiffs explained why they have third-party standing to maintain claims based on

injuries to purported non-parties—injuries that are qualitatively different from the injuries the

AFT plaintiffs contend they themselves will suffer as a result of the new antidiscrimination

provisions. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (“The party invoking

federal jurisdiction bears the burden of establishing [the] elements [of standing].”); Doe v.

Hopkinton Public Schools, 19 F.4th 2021, 510 (1st Cir. 2021) (discussing the limitations of the

prudential third-party standing doctrine and its interplay with traditional Article III standing). For

all of these reasons, the AFT plaintiffs’ reliance on purported student speech rights cannot sustain

their First Amendment claim.

       The AFT plaintiffs alternatively argue that the new antidiscrimination provisions chill

their private speech. This argument requires little rebuttal. The new antidiscrimination provisions

do not purport to reach private speech, as discussed in the defendants’ underlying memorandum.

That the AFT plaintiffs premise their First Amendment claim on “curricular discretion” and




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focus the vast majority of their complaint on purported confusion over what they can and cannot

teach only confirms this.

                                          Conclusion

       For all of these reasons, and those stated in the defendants’ underlying memorandum of

law, the AFT plaintiffs’ First Amendment claim should be dismissed.


                                                      Respectfully submitted,

                                                      FRANK EDELBLUT, in his official capacity
                                                      as Commissioner of the Department of
                                                      Education,

                                                      JOHN M. FORMELLA, in his
                                                      official capacity only as Attorney General
                                                      of the State of New Hampshire,

                                                      AHNI MALACHI, in her official capacity as
                                                      Executive Director of the Commission for
                                                      Human Rights,


                                                      CHRISTIAN KIM, in his official capacity as
                                                      Chair of the Commission for Human Rights,

                                                             and

                                                      KENNETH MERRIFIELD, in his official
                                                      capacity as Commissioner of the Department of
                                                      Labor


                                                      By their attorney,

                                                      JOHN M. FORMELLA
                                                      ATTORNEY GENERAL




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Date: June 24, 2022                                  /s/ Samuel Garland
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                                    Certificate of Service

      I hereby certify that a copy of the foregoing was served on all counsel of record using the

Court’s CM/ECF system.


                                                     /s/ Samuel Garland
                                                     Samuel R.V. Garland




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